










Opinion issued January 22, 2004 














In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-03-01348-CR
____________

LUIS ANTONIO CASTILLO, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 208th District Court
Harris County, Texas
Trial Court Cause No. 934079



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant filed a motion to dismiss the appeal.  The motion is in writing,
signed by appellant.  We have not yet issued a decision.  Accordingly, the appeal is
dismissed.  Tex. R. App. P. 42.2(a).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The clerk of this Court is directed to issue the mandate immediately.  Tex. R.
App. P. 18.1.

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Jennings and Higley.

Do not publish.  Tex. R. App. P. 47.2(b).


